 

   

UNITED STATES OF AMERICA
y Cr. No. 19-20478

D-1 ALEKSANDR GRICHISHKIN, Hon. Denise Page Hood

D-2 ANDREI SKVORTSOV, OFFENSES:

D-3 ALEKSANDR SKORODUMOV,
§1962(d)

D-4 PAVEL STASSL, Bank Fraud Conspiracy; 18
Defendants. U.S.C, §1349
RICO Forfeiture; 18 U.S.C.

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FIRST SUPERSEDING INDICTMENT
THE GRAND JURY CHARGES THAT:
GENERAL ALLEGATIONS
At all times relevant to this First Superseding Indictment:
1. Defendant ALEKSANDR GRICHISHKIN was a Russian national.
2. Defendant ANDREI SKVORTSOV was a Russian national.

3, Defendant ALEKSANDR SKORODUMOV was a Lithuanian

national.

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RICO Conspiracy; 18 U.S.C.

UNITED STATES DISTRICT COURT LL &
EASTERN DISTRICT OF MICHIGAN FEB 13 a
SOUTHERN DIVISION CLE Ries 6 a
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4. Defendant PAVEL STASSI was an Estonian national.
OVERVIEW OF THE DEFENDANTS’ CRIMINAL SCHEME

5. As set forth more fully below, Defendants GRICHISHKIN,
SKVORTSOV, SKORODUMOV, and STASSI were members of a CRIMINAL
ORGANIZATION (hereafter, “ORGANIZATION”). The ORGANIZATION was
a so-called “bulletproof hosting” service using computers in the United States, and
elsewhere.

6. As a bulletproof hosting service, the ORGANIZATION rented to
cyber-criminal clients Internet Protocol (“IP”) addresses and servers, and
registered domain names (hereafter, “Internet infrastructure”), in a manner
designed to preserve both the ORGANIZATION and its clients’ anonymity, to
minimize interruptions in service, and to help the clients evade detection of their
criminal activities by law enforcement. That is, the ORGANIZATION and its
members rented Internet infrastructure to clients knowing this infrastructure would
be used to commit cybercrimes.

7. Further, as a bulletproof hosting service, the ORGANIZATION’s
members provided various services to the ORGANIZATION’s criminal clientele.
One such service included monitoring “abuse notices” and “block lists” issued or
maintained by third-party online services, including Spamhaus and Zeus Tracker,

which reported malicious activities on particular domains and IP addresses and
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caused Internet Service Providers (“ISPs”) not to route traffic to the affected
domains or IP addresses until the “block” was removed or the abuse notice
resolved. The ORGANIZATION’s members monitored these lists and notices so
they could quickly identify “flagged” or blocked domains and IP addresses, and
transfer their clients’ affected infrastructure to new or “clean” domains and IP
addresses to minimize interruptions in service.

8. As members of the ORGANIZATION and as set forth in greater
detail below, Defendants GRICHISHKIN, SK VORTSOV, SKORODUMOV, and
STASSI knowingly facilitated and aided and abetted the distribution over the
Internet of “spam” email and malicious software (“malware”), including “banking
trojans,” and the hosting of “exploit kits,” that were used to gain unauthorized
access to victims’ computers in the United States and abroad and commit financial
frauds.

9. Defendants GRICHISHKIN, SK VORTSOV, SKORODUMOV, and
STASSI knew that the ORGANIZATION’s Internet infrastructure and services
were used by their clients to further computer intrusion activity and resulting
financial frauds, including fraud of financial institutions and their account holders,
in the United States, and acted with the purpose of aiding such crimes, and with the

intention of causing such crimes to occur.
   
 

 

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10. Comerica Bank, NBT Bank, Silicon Valley Bank, PNC Bank, JP
Morgan Chase, and Bank of America, among others, were federally insured United
States financial institutions as defined by 18 U.S.C. Section 20.

OVERVIEW OF RELEVANT CYBERCRIMES AND TERMS
Banking Trojans

11. Banking trojans are a form of malware typically designed to gain»
unauthorized access to victims’ computers and steal personal information,
including account holders’ usernames, passwords, and other personally identifiable
information used to access and control online bank accounts. Banking trojans are.
often disseminated through spam email messages from seemingly benign senders
containing what appears to be harmless attachments or hyperlinks to harmless
webpages. When a victim opens such an attachment or clicks ona hyperlink and
visits the linked webpage, additional malware is downloaded and installed on the
victim’s computer without the victim’s knowledge or consent, which provides
further instructions to the victim’s computer.

12. Once installed, this additional malware steals user names, passwords,
and other information stored on the computer or entered into webpages by the
victim account holder. The malware then causes this information to be sent to a
computer controlled by the cyber criminals, who use the information to log into the

victim’s bank accounts without authorization and steal, and attempt to steal, money
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from these bank accounts. Banking trojans can be tailored by cyber criminals to
steal online banking credentials for accounts with specific financial institutions.

13. The ORGANIZATION aided others in proliferating banking trojans,
which included “Zeus” “SpyEye,” “Dyre,” and “Citadel,” among others.
Collectively, these trojans infected computers around the world, including in the
United States; targeted numerous financial institutions in the United States,
including at least one U.S. financial institution located in the Eastern District of
Michigan; and caused millions of dollars in losses.
Exploit Kits

14. Exploit kits are used to identify vulnerabilities in victims’ computers,
exploit such vulnerabilities to gain unauthorized access to the computers, and then
deliver additional malware to the computers. As with other forms of malware, a
victim’s computer typically is infected when the victim unwittingly opens an
attachment, clicks on a hyperlink, or visits a compromised webpage, which
redirects the victim to a computer server on which the exploit kit is hosted. The
exploit kit scans the victim’s computer for vulnerabilities, which are then used to
further access and deliver additional malware to the victim’s computer.
15. The ORGANIZATION aided others in proliferating the Blackhole

Exploit Kit, which was used by cyber criminals to access without authorization
 

  
    

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computers in the United States and abroad, and to disseminate malware designed to
steal victims’ banking credentials, including the Zeus trojan.
Botnets

16. Cyber criminals disseminating malware often create “botnets” (or
networks of compromised computers, or “bots”) by infecting victims’ computers
with malware that allows the cyber criminals to control each bot without the
victim’s knowledge or authorization.

17. The ORGANIZATION knowingly provided its clients with the
Internet infrastructure necessary to form botnets, which the ORGANIZATION
knew would be used to steal information from infected computers and transmit

spam emails, among other things.

Spam

 

18. Spam is unsolicited bulk email that is transmitted over the Internet in
a manner that hides the true source of the spam and the identity of the individuals
who send it (“spammers”). Spam is often a means by which cyber criminals
distribute malware over the Internet.

19. The ORGANIZATION’s bulletproof hosting service was used by
cyber criminals to transmit spam over the Internet, which the ORGANIZATION’s
members knew was being used to disseminate malware to unsuspecting victims in

the United States and abroad.
   
 

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THE CRIMINAL ORGANIZATION
20. At various times relevant to this First Superseding Indictment,
Defendants GRICHISHKIN, SK VORTSOV, SKORODUMOV, and STASSI, and
others known and unknown to the Grand Jury, were members of the
ORGANIZATION, whose members aided and abetted bank fraud, wire fraud
affecting financial institutions, computer fraud, and trafficking in unauthorized
access devices, and whose members used and trafficked in counterfeit and stolen
identification documents. Members of the ORGANIZATION operated throughout
the world, including in the Eastern District of Michigan.

21. Defendants SKVORTSOV and GRICHISHKIN launched the
ORGANIZATION by at least August 2008. The ORGANIZATION provided
bulletproof hosting services to cyber criminals through at least November 2015.

ROLE OF THE DEFENDANTS AND CO-CONSPIRATORS

22. The ORGANIZATION’s members had defined roles in the
ORGANIZATION. Defendants GRICHISHKIN, SK VORTSOV,
SKORODUMOV, and STASSI, and other persons known and unknown to the
Grand Jury, participated in the operation and management of the
ORGANIZATION as follows:

Proprietors

23. Defendants SKVORTSOV and GRICHISHKIN launched the
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ORGANIZATION in or about 2008, and were its proprietors.

24. GRICHISHKIN was the ORGANIZATION’ s day-to-day leader. He
oversaw advertising on online cybercrime forums, set pricing for hosting services,
negotiated and interfaced with clients, managed employee hiring and
compensation, and supervised the systems administrators’ and other employees’
work,

25. SKVORTSOV served as a reference for the ORGANIZATION on
online cybercrime forums, where businesses’ success depended upon reputations
and relationships; referred criminal clients; proposed business ideas; and served as
a point-of-contact for important clients, or when there were problems with the
ORGANIZATION’s bulletproof hosting services.

Systems Administrators

26. The ORGANIZATION employed multiple systems administrators
who registered domains, set up and configured servers, assigned IP addresses,
provided technical assistance to clients, and reconfigured clients’ Internet
infrastructure in response to abuse notices. Systems administrators sometimes
provided false information to ISPs from which the ORGANIZATION rented
Internet infrastructure to avoid interruptions in service, and assisted other
ORGANIZATION members in doing the same.

27. SKORODUMOV was systems administrator for the
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ORGANIZATION from at least December 2009 until at least May 2012.
Client Relations and Administrative Personnel

28. The ORGANIZATION employed client relations and administrative
personnel who conducted and tracked advertising efforts, screened job applications
for new hires, used stolen personally identifiable information and false information
to register financial accounts and webhosting accounts with ISPs, and
communicated with ISPs about abuse notices relating to the ORGANIZATION’s
customers’ accounts.

29. STASSI performed client relations and administrative services from
~ on or about November 2010 through at least September 2014. Under
GRICHISHKIN’s supervision, STASSI screened job applicants, advertised on
cybercrime forums, leased webhosting services from ISPs using fraudulent
information, received client orders for bulletproof hosting services, registered

domains, and provided some technical support to clients.

COUNT 1
18 U.S.C. § 1962(d)
Conspiracy to Engage in a Racketeer Influenced Corrupt Organization

D-1 ALEKSANDR GRICHISHKIN
D-2 ANDREI SK VORTSOV

D-3 ALEKSANDR SKORODUMOV
D-4 PAVEL STASSI

30. Paragraphs 1 through 29 are incorporated by reference as fully set

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forth herein.

31. The ORGANIZATION, including its leadership, membership, and
associates, constituted an “enterprise,” as defined by Title 18, United States Code,
Section 1961(4), that is, a group of individuals associated in fact, although not a
legal entity. The enterprise constituted an ongoing organization whose members
functioned as a continuing unit for a common purpose of achieving the objectives
of the enterprise. The enterprise was engaged in, and its activities affected,
interstate and foreign commerce.

PURPOSES OF THE ENTERPRISE

32. The purposes of the enterprise included, but were not limited to, the
following:

A. — Providing Internet infrastructure and services for cyber criminals
whom the ORGANIZATION’s members knew to be using these services for
illegal activities, including bank fraud, wire fraud, computer fraud, and trafficking
in unauthorized access devices;

B. Promoting the ORGANIZATION, its services, and the reputation
and standing of its members;

C. Protecting the enterprise, its members, and its clients from

detection, apprehension, and prosecution by law enforcement; and

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D. Enriching the leaders and members of the enterprise by taking a
fee for services rendered for the ORGANIZATION’s clients, which the enterprise
members knew furthered the criminal activities of those clients.
MEANS AND METHODS OF THE ENTERPRISE

33. The means and methods by which Defendants GRICHISHKIN,
SKVORTSOV, SKORODUMOV, and STASSI, and other members of the
enterprise conducted and participated in the conduct of the affairs of the enterprise
included, but were not limited to, the following:

A. The ORGANIZATION’s members advertised bulletproof hosting
services to known cyber criminals and on known online cybercrime forums,
including but not limited to LCP, Mazafaka, Direct Connection, Verified, and Vor,
between at least 2008 and at least 2013. The ORGANIZATION addressed some of
these advertisements to “Gentlemen-Fraudsters.” The forums on which the
advertisements were posted could be accessed by forum members from computers
located anywhere in the world, including in the Eastern District of Michigan, and
were used by those members to buy, sell, or rent malware kits, botnets, and stolen
personally identifiable information, and related services. For example:

i. On or about July 30, 2009, SKVORTSOV and
GRICHISHKIN posted or caused to be posted an advertisement on the

Russian-language cybercrime forum, LCP, which stated, in part:
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We can support all types of projects (all listings like Spamhaus
or ZeusTracker are ignored):

- any malware (trojans, virii, sockbots, spambots etc)

- any traffic needs (tds, sploits, iframers etc)

- any input & output spam (direct spam from servers, socks
spam, spamvertised projects|[.])

ii. On or about December 29, 2010, GRICHISHKIN and
STASSI discussed an advertisement for the ORGANIZATION that stated
(in part):

We are glad to present our hosting services (and
associated services) to you for your problem projects.

Thus, we finish our prelude and begin in earnest
regarding: “who we are.”

1) A full spectrum of hosting services — dedicated
servers, domains, hosting (shared and vps), ssl
certificates (thawte, geotrust). All services are resistant
to various kinds of provocation from your foes and other
slackers.

2) Everyone’s favorite locations: Latvia, Germany,
China, Singapore, Malaysia, Hong Kong, Iran, Holland,
Luxembourg, USA. .

3) There is the capability to set up practically any
hardware. .

4) On many platforms we have our own automated
systems and IP addressing. We really handle abuses and
process them without damage to clients.

5) We have direct, clean, legal relationships with
providers and data centers. Moreover, everyone is always
kept apprised of what they are doing and why.

6) We do not mix black and white. That means, for
example, if there is a FireEye holy war on malware guys,
the work of other clients will not be blocked. We have
built the utmost distributed structure and it has been
tested on real operations.

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7) We are true specialists in our business; that is why we
will not lag behind in any kind of advanced task (be it a
special API for your software, a highload solution, non-
standard hardware firewalls, or even simply kvm — it is
all within our capabilities).

8) We essentially have twenty-four hour support on ICQ
and Jabber; only one contact that is always up to date on
your situation, responds to and resolves our common
issues, and always sees and receives your messages.

9) Our systems administrators provide free assistance to
clients (within reason).

Regarding project topics. — everything is possible except
Child Porn.

The most popular content-solutions:
- Spam (xrumer, dorgens),

- Spam objects (doorways, splogs),
- Running traffic (TDS),

- Licensing problems (pharma),

- Copyright problems (warez, MP3),
- Malware (codex, anti-spy),

- Adult (rape, zoo)

And much more...

 

STASSI maintained copies of the ORGANIZATION’s advertisements, as
well as a robust spreadsheet that he used to track all of the
ORGANIZATION’s advertisements.

lil. On or about April 4, 2010, at SK VORTSOV’s direction,
GRICHISHKIN contacted the developer of the SpyEye banking trojan,
“offer[ing] to collaborate” and proposing “you can refer clients to us and I
will payout a fixed amount for each one.”

B. ORGANIZATION members leased domains, servers, and IP
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addresses from ISPs all over the world, including in the United States, using stolen

 

and fraudulent identity information and a variety of payment methods, so as to hide
the true owners and users of the accounts. For example:

1. From at least September 2011 until at least January 2018,
ORGANIZATION members used a PayPal account to rent Internet
infrastructure from hundreds of ISPs. This PayPal account was registered to
the stolen or fraudulent identity of “I.P.,” using a Google email address in
I.P.’s name and scans of two fraudulent Lithuanian passports in I-P.’s name.
In 2015, an IP address leased by the ORGANIZATION using the fraudulent
“T.P.” identity and PayPal account was used to steal funds from, or attempt
to steal funds from, U.S. bank accounts at Silicon Valley Bank, JP Morgan
Chase, PNC Bank, and Bank of America. The account holders’ computers
were infected with Dyre, a banking trojan.

il. On or about September 15, 2011, STASSI directed
another ORGANIZATION member to register various domain names, using
different information for each registration. Three months later, on or about
December 29, 2011, ORGANIZATION members received an abuse notice
from a U.S. service provider indicating that it was no longer routing traffic
to a server rented by the ORGANIZATION because one of these domains

STASSI had ordered be registered was hosting “ZeuS webinjects.”
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ill. In or about November 201 1, STASSI knowingly used a

 

fraudulent utility bill and the stolen United States passport of “C.D.,” a real
person, to register a web-hosting account with OVH, a French ISP, which
remained active until January 6, 2014.

C. ORGANIZATION members subleased the Internet infrastructure it
had rented from ISPs to individuals whom they knew were using this infrastructure
to disseminate spam and malware, including banking trojans and exploit kits; to
operate botnets; and to steal banking credentials. For example:

i. Between in or about July 2009 and at least March 2010,
ORGANIZATION members rented domains, servers, and IP addresses to
members of the so-called “Jabberzeus Crew,” who used this infrastructure to
disseminate Zeus malware, steal online banking credentials, and steal, or
attempt to steal, funds from U.S. victims’ accounts, including accounts with
Comerica Bank, a financial institution located in the Eastern District of
Michigan. GRICHISHKIN agreed to lease infrastructure to the Jabberzeus
Crew knowing that it would be used “for botnets [that] get downloaded from
spam,” “for Zeus,” and for “bots” that “spam U.S. government entities.”

D. ORGANIZATION members assisted clients to configure their
Internet infrastructure so as to avoid detection and interruptions in service, and

maximize profits.
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i. For example, in or about August 2011 and April 2012,
respectively, SKORODUMOV helped clients set up SpyEye and Citadel
malware-related infrastructure, knowing this infrastructure would be used to
set up botnets and steal victims’ banking credentials.
E. | ORGANIZATION members monitored third-party online services’
“block lists,” including Spamhaus and Zeus Tracker, which periodically flagged
domains and IP addresses administered by the ORGANIZATION as being used for
malicious activities, and caused ISPs not to route traffic to or from the affected
domains or IP addresses until the “block” was removed or the abuse notice
resolved. ORGANIZATION members also notified affected clients when the
ORGANIZATION’ members became aware that an ORGANIZATION-
administered domain or IP address was included on a block list or was the subject
of an abuse notice, relocating the clients’ data to new Internet infrastructure, and
providing false information to the ISPs from which the ORGANIZATION had _ -
rented the Internet infrastructure so as to avoid an interruption in or discontinuation
of service. For example:
i. On or about March 21, 2010, GRICHISHKIN forwarded
an abuse notice, which flagged one of the ORGANIZATION’s domains as
hosting Zeus botnet files, to another ORGANIZATION member.

GRICHISHKIN instructed the ORGANIZATION member to “[m]ove it to
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an adjacent IP.”

 

il. On or about January 15, 2012, GRICHISHKIN instructed
SKORODUMOV on how to respond to abuse notices and advise clients

regarding service interruptions:

Regarding SPY/Zeus/Blackhole, we change IPs... /
Regarding other abuses — it’s better to say that it’s
something else, but not a complaint. Like, the domain
was locked by the registrar; the domain is being filtered,
and so on... . [FJor SPY/Zeus/Blackhole, you can say it
this way: your IP was taken down due to [Spamhaus
Block List] and there will be a replacement. /... / For
everyone that has Blackhole, the replacement is strictly to
be paid for. / Zeus and SPY can be changed immediately
for free.

F. ORGANIZATION members used online payment accounts often
registered with false information to receive payments from clients and pay staff
members’ salaries in order to protect the membership’s anonymity.

G. ORGANIZATION members used a wide range of communication
methods, and changed accounts frequently, in order to protect the membership’s
anonymity and to avoid detection by law enforcement. Many of these
communications accounts were registered using false information or online aliases.
The communications methods used by ORGANIZATION members included but

were not limited to:

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i. Postings on private, invitation-only online cybercrime
forums under a variety of online aliases;

il. Private messaging, including Jabber and ICQ, which are
often encrypted and, in the case of Jabber, frequently hosted on private
servers so as to decrease the risk that backups and logs can be obtained
through legal process or seized by law enforcement; and

iil. Email and other communications accounts with
commercial providers, often registered using false or stolen information.
THE RACKETEERING CONSPIRACY

34. Beginning no later than in or around August 2008 and continuing to at

 

least November 2015, in the Eastern District of Michigan and elsewhere,
Defendants ALEKSANDR GRICHISHKIN, ANDREI SKVORTSOV,
ALEKSANDR SKORODUMOV, PAVEL STASSI, and other persons, known and
unknown to the Grand Jury, being persons employed by and associated with the
ORGANIZATION, an enterprise, which engaged in, and the activities of which
affected, interstate and foreign commerce, knowingly and intentionally conspired
to violate Title 18, United States Code, Section 1962(c), that is, to conduct and
participate, directly and indirectly, in the conduct of the affairs of that enterprise
through a pattern of racketeering activity, as that term is defined in Title 18, United

States Code, Sections 1961(1) and (5), consisting of multiple acts indictable under
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18 U.S.C. § 1028 (fraud in connection with identification documents), 18 U.S.C. §
1029 (fraud in connection with access devices), 18 U.S.C. § 1030(a)(5)(A) .
(computer fraud), 18 U.S.C. § 1343 (wire fraud affecting a financial institution),
and 18 U.S.C. § 1344 (bank fraud).

35. It was a part of the conspiracy that each Defendant agreed that a
conspirator would commit at least two acts of racketeering activity in the conduct
of the affairs of the enterprise.

All in violation of Title 18, United States Code, Section 1962(d).

COUNT 2
18 U.S.C. § 1349
Bank Fraud Conspiracy
D-1 ALEKSANDR GRICHISHKIN
D-2 ANDREI SK VORTSOV
D-3 ALEKSANDR SKORODUMOV
D-4 PAVEL STASSI

36. Paragraphs 1 through 29 are incorporated by reference as fully set
forth herein.

37. From in or about August 2008 until at least November 2015, the exact
dates being unknown to the Grand Jury, ALEKSANDR GRICHISHKIN, ANDREI
SKVORTSOV, ALEKSANDR SKORODUMOV, PAVEL STASSI, and other co-

conspirators not named as defendants herein, knowingly agreed to execute, and

attempt to execute, a scheme to defraud a wide range of U.S. financial institutions,

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and their account holders, including Comerica Bank in the Eastern District of
Michigan, and to obtain the money, funds and other property owned by and under
the control of those U.S. financial institutions by means of material false or
fraudulent pretenses, representations, and promises.

38. It was part of the scheme that the co-conspirators used computer
intrusions, malicious software, and fraud to steal, or attempt to steal, millions
of dollars from several bank accounts in the United States, and elsewhere.
The co-conspirators infected computers with software that captured passwords,
accountnumbers, and other information necessary to log into online banking
accounts, and then used the captured information to steal, and to attempt to
steal, funds from accounts held with U.S. financial institutions, including
Comerica Bank in the Eastern District of Michigan.

39. It was part of the scheme that GRICHISHKIN, SKVORTSOV,
SKORODUMOV, and STASSI registered domain names for and leased IP
addresses and servers to these co-conspirators, and directed other
ORGANIZATION members to do so, and configured and administered this
Internet infrastructure for the co-conspirators. GRICHISHKIN, SKVORTSOV,
SKORODUMOV, and STASSI knew and intended that this Internet infrastructure

would be used by the co-conspirators to disseminate malicious software, conduct

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computer intrusions, and steal, and attempt to steal, funds from bank accounts in
the United States, and elsewhere.

40. ~ Between August 2008 until at least November 2015, GRICHISHKIN,
SKVORTSOV, SKORODUMOV, and STASSI knowingly agreed to execute, and
attempt to execute, the scheme set forth above, in that Defendants
GRICHISHKIN, SK VORTSOV, SKORODUMOV, and STASSI agreed to, and
did, host and service Internet infrastructure that was used by the co-conspirators to
disseminate banking trojans, including Zeus, SpyEye, Dyre, and Citadel; receive
- stolen banking credentials that had been transferred without authorization from
computers infected with these malware; and access U.S. financial institution
accounts without authorization; and these co-conspirators falsely represented to
US. financial institutions that the co-conspirators were entitled to authorize
transfers of funds out of bank accounts maintained with these financial

institutions.

All in violation of Title 18, United States Code, Section 1349.
FORFEITURE ALLEGATIONS

18 U.S.C. § 1963, 18 U.S.C. § 982, and
18 U.S.C. § 981 together with 28 U.S.C. § 2461

41. The allegations contained in Counts One and Two of this First

Superseding Indictment are hereby repeated, re-alleged, and incorporated by

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reference herein as though fully set forth at length for the purpose of alleging
forfeiture pursuant to the provisions of Title 18, United States Code, Sections
1963, 982(a)(2)(A), and 981(a)(1)(C) together with Title 28, United States Code,
Section 2461.

42. Pursuant to Rule 32.2, Fed. R. Crim. P., notice is hereby given to the
defendants that the United States will seek forfeiture as part of any sentence in
accordance with Title 18, United States Code, Sections 1963, 982(a)(2)(A), and
981(a)(1)(C) together with Title 28, United States Code, Section 2461, in the event of
any defendant’s conviction under Counts One and Two of this First Superseding
Indictment.

43. Upon conviction of Count One of this First Superseding Indictment, the
Defendants, ALEKSANDR GRICHISHKIN, ANDREI SKVORTSOV,
ALEKSANDR SKORODUMOV, and PAVEL STASSI, shall forfeit the
following to the United States, pursuant to Title 18, United States Code,
Sections 1963(a)(1)-(3):

A. any interest acquired or maintained in violation of section 1962,
which interests are subject to forfeiture to the United States pursuant to Title 18,
United States Code, Section 1963(a)(1);
B. any interest in, security of, claim against, or property or contractual

right of any kind affording a source of influence over, any enterprise which the
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defendant[s] established, operated, controlled, conducted, or participated in the
conduct of, in violation of section 1962, which interests are subject to forfeiture to
the United States pursuant to Title 18, United States Code, Section 1963(a)(2); and
C. any property constituting, or derived from, any proceeds obtained,

directly or indirectly, from racketeering activity in violation of 1962, which
interests are subject to forfeiture to the United States pursuant to Title 18, United
States Code, Section 1963(a)(3);

44. Upon conviction of the offense in violation of Title 18, United States
Code, Section 1349 set forth in Count Two of this First Superseding Indictment,
the Defendants, ALEKSANDR GRICHISHKIN, ANDREI SK VORTSOV, and
ALEKSANDR SKORODUMOYV, shall forfeit to the United States, pursuant to
Title 18, United States Code, Section 982(a)(2)(A) or Title 18, United States Code,
Section 981(a)(1)(C) together with Title 28, United States Code, Section 2461(c),
any property constituting, or derived from, proceeds obtained, directly or
indirectly, as a result of such violation.

45. If any of the above-described forfeitable property, as a result of any act
or omission of the Defendants:
a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third

party;
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c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be

subdivided without difficulty;

it is the intent of the United States, pursuant to Title 18, United States Code,
Section 1963(m) and Title 21, United States Code, Section 853(p) as incorporated
by Title 28, United States Code, Section 2461, to seek forfeiture of any other

property of said Defendants up to the value of the above forfeitable property.

46. Money Judgment. Upon conviction of one or more violations alleged
in this First Superseding Indictment, the United States will seek a forfeiture
money judgment against the convicted Defendants in an amount representing the

total amount of proceeds obtained as a result of Defendants’ offenses.

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Procedure.

MATTHEW SCHNEIDER
United States Attorney
Eastern District of Michigan

s/John K. Neal
JOHN K. NEAL
Chief, White Collar Crime Unit

s/Patrick E. Corbett
PATRICK E. CORBETT
Assistant United States Attorney

Dated: 2/13/2020

All pursuant to Title 18, United States Code, Sections 1963, 982(a)(2)(A),

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and Title 18, United States Code, Section 981(a)(1)(C) together with Title 28,

United States Code, Section 2461, and Rule 32.2, Federal Rules of Criminal

THIS IS A TRUE BILL.

s/Grand Jury Foreperson
GRAND JURY FOREPERSON

BRIAN BENCZKOWSKI
Assistant Attorney General,
Criminal Division

s/John Lynch
JOHN LYNCH

Chief, Computer Crime and
Intellectual Property Section

s/Louisa Marion

LOUISA MARION

Senior Counsel, Computer Crime and
Intellectual Property Section
 

 

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United States District Court . Criminal Case Cover Sheet | Case Number
Eastern District of Michigan 1 9-20478

 

 

 

NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form to complete it accurately in all respects.

 

 

 

 

 

Companion Case information. -, +.) | Companion Case Number:
This may be a companion case based upon LCrR 57.10 (byeay': _| Judge Assigned:
Ll ves No AuSA’sinitias: PC, Z,

 

 

Case Title: USA v. Aleksandr Grichishkin, et al

County where offense occurred : Wayne County and elsewhere

CheckOne: ([XlFelony L]Misdemeanor L |Petty
Indictment/ Information --- no prior complaint.
Indictment/ Information --- based upon prior complaint [Case number: ]
¥_Indictment/ Information --- based upon LCrR ‘57.10 (d) [Complete Superseding section below].

Superseding Case Information

 

Superseding to Case No: 19-20478 Judge: Denise Page Hood

[X] Corrects errors; no additional charges or defendants.
[_]Involves, for plea purposes, different charges or adds.counts.
_[_JEmbraces same subject matter but adds the additional defendants or charges below:

Defendant name Charges Prior Complaint (if applicable)

 
 

 

Please take notice that the below listed Assistant) Unit
the above captioned case. | .

2/12/2020

Date Patrick Corbett
Assistant United States Attorney

211 W. Fort Street, Suite 2001

Detroit, MI 48226-3277

Phone: 313-226-9703

Fax: 313-226-4678 -

E-Mail address: Patrick.Corbett@usdoj.gov

 

 

1 Companion cases are matters in which it appears that (1) substantially similar evidence will be offered at trial, or (2) the same
dr related parties are present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases

2ven though one of them may have already been terminated. )
R/¢

 
